USCA11 Case: 21-13092   Document: 30   Date Filed: 04/25/2022   Page: 1 of 36



                          No. 21-13092-CC


        IN THE UNITED STATES COURT OF APPEALS
               FOR THE ELEVENTH CIRCUIT
                      ______________

                UNITED STATES OF AMERICA,
                             Plaintiff/Appellee,

                                  v.

                         KEVIN MCCALL,
                               Defendant/Appellant.

                            ______________

       On Appeal from the United States District Court
            for the Southern District of Florida
                       ______________

                INITIAL BRIEF OF APPELLANT
                       KEVIN MCCALL
                        ______________

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         THIS CASE IS ENTITLED TO PREFERENCE
                    (CRIMINAL CASE)
 USCA11 Case: 21-13092   Document: 30   Date Filed: 04/25/2022   Page: 2 of 36



CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
             DISCLOSURE STATEMENT

             United States of America v. Kevin McCall
                      Case No. 21-13092-CC

     Appellant files this Certificate of Interested Persons and Corporate

Disclosure Statement, listing the parties and entities interested in this

appeal, as required by 11th Cir. R. 26.1.

     Altman, Hon. Roy K., United States District Judge

     Budhrani, Anshu, Assistant Federal Public Defender

     Caruso, Michael, Federal Public Defender

     Fajardo Orshan, Ariana, Former United States Attorney

     Gonzalez, Juan Antonio, United States Attorney

     Hoffman, Andrea G., Assistant United States Attorney

     Hunt, Hon. Patrick M., United States Magistrate Judge

     Jones, Trevor Christopher, Assistant United States Attorney

     McCall, Kevin A., Defendant/Appellant

     Mulvihill, Thomas J., Assistant United States Attorney

     Smachetti, Emily M., Assistant United States Attorney

     Snow, Hon. Lurana S., United States Magistrate Judge

     Strauss, Hon. Jared M., United States Magistrate Judge


                                 C-1 of 2
USCA11 Case: 21-13092   Document: 30   Date Filed: 04/25/2022   Page: 3 of 36



    Strauss, Scott Ryan, Assistant United States Attorney

    Tobin Rubio, Lisa, Assistant United States Attorney

    Valle, Hon. Alicia O., United States Magistrate Judge

    Wilcox, Daryl E., Assistant Federal Public Defender

    Williams, Hon. Kathleen M., United States District Judge



                                       /s/ Anshu Budhrani
                                       Anshu Budhrani




                               C-2 of 2
 USCA11 Case: 21-13092   Document: 30   Date Filed: 04/25/2022   Page: 4 of 36



         STATEMENT REGARDING ORAL ARGUMENT

     This   appeal   presents    important     questions     regarding     the

particularity required of search warrants for electronic storage media,

such as the iCloud. It is a question of growing importance, as more and

more personal data is now being stored in the Cloud. As such, Mr. McCall

respectfully submits that oral argument is necessary to the just

resolution of this appeal, and will significantly enhance the decision-

making process.




                                    i
 USCA11 Case: 21-13092              Document: 30          Date Filed: 04/25/2022           Page: 5 of 36



                                  TABLE OF CONTENTS
CERTIFICATE OF INTERESTED PERSONS AND CORPORATE

DISCLOSURE STATEMENT ............................................................... C-1

STATEMENT REGARDING ORAL ARGUMENT ................................... i

TABLE OF CITATIONS .......................................................................... iv

STATEMENT OF JURISDICTION .......................................................... 1

STATEMENT OF THE ISSUE ................................................................. 2

STATEMENT OF THE CASE .................................................................. 3

I.     Course of Proceedings, Facts, and Disposition Below ..................... 3

       A. Course of Proceedings and Disposition Below ........................... 3

       B. Facts ............................................................................................ 5

II.    Standard of Review ........................................................................ 10

SUMMARY OF THE ARGUMENT ........................................................ 12

ARGUMENT AND CITATIONS TO AUTHORITY ............................... 15

I.     The District Court Erroneously Applied the Good-Faith

       Exception To the Exclusionary Rule to Salvage the Searches

       Conducted Here .............................................................................. 15

       A.      The good-faith exception to the exclusionary rule does

               not apply because the affidavit underlying the Apple
                                                     ii
 USCA11 Case: 21-13092            Document: 30         Date Filed: 04/25/2022       Page: 6 of 36



               iCloud search warrant was so lacking in indicia of

               probable cause as to render official belief in its existence

               entirely unreasonable ........................................................... 16

       B.      The good-faith exception to the exclusionary rule also

               does not apply because the iCloud search warrant was

               so facially deficient that the executing officers could not

               have reasonably presumed it to be valid .............................. 20

       C.      In any case, even if the above exceptions to the Leon

               good-faith exception to the exclusionary rule do not

               apply, law enforcement officers’ reliance upon the search

               warrant was objectively unreasonable ................................. 23

CONCLUSION ........................................................................................ 26

CERTIFICATE OF COMPLIANCE ........................................................ 27

CERTIFICATE OF SERVICE................................................................. 28




                                                 iii
 USCA11 Case: 21-13092           Document: 30         Date Filed: 04/25/2022         Page: 7 of 36



                               TABLE OF CITATIONS

CASES

Bigford v. Taylor,

   834 F.2d 1213 (5th Cir. 1988) ............................................................ 19

Brinegar v. United States,

   338 U.S. 160 (1949) ............................................................................ 24

Davis v. United States,

   564 U.S. 229 (2011) ............................................................................ 15

Groh v. Ramirez,

   540 U.S. 551 (2004) ...................................................................... 23, 24

Harris v. United States,

   331 U.S. 145 (1947) ............................................................................ 25

Nathanson v. United States,

   290 U.S. 41 (1933) .............................................................................. 24

United States v. Blake,

   868 F.3d 960 (11th Cir. 2017) ...................................................... 20, 21

United States v. Chadwick,

   433 U.S. 1 (1977), abrogated on other grounds,

   California v. Acevedo, 500 U.S. 565 (1991) ....................................... 20

                                                 iv
 USCA11 Case: 21-13092              Document: 30         Date Filed: 04/25/2022          Page: 8 of 36



United States v. Griffith,

    867 F.3d 1265 (D.C. Cir. 2017) .......................................................... 20

United States v. Leon,

    468 U.S. 897, 922 (1984) ........................................................ 15, 23, 24

United States v. Martin,

    297 F.3d 1308 (11th Cir. 2002) .............................................. 11, 16, 17

United States v. Nunez,

    455 F.3d 1223 (11th Cir. 2006) .......................................................... 10

STATUTES

18 U.S.C. § 3231 ........................................................................................ 1

18 U.S.C. § 922(g)(1) .............................................................................. 3, 4

28 U.S.C. § 1291 ........................................................................................ 1

CONSTITUTIONAL PROVISIONS

U.S. Const. amend IV .............................................................................. 20




                                                    v
 USCA11 Case: 21-13092   Document: 30    Date Filed: 04/25/2022   Page: 9 of 36



                  STATEMENT OF JURISDICTION

     The district court had jurisdiction pursuant to 18 U.S.C. § 3231,

because the defendant was charged with an offense against the laws of

the United States. This Court has jurisdiction over this appeal pursuant

to 28 U.S.C. § 1291, which confers jurisdiction on the courts of appeals

from final decisions of the district courts. This appeal was timely filed on

September 10, 2021 (DE 82) from the final judgment entered on

September 1, 2021 (DE 81), disposing of all claims between the parties to

this appeal.




                                     1
USCA11 Case: 21-13092   Document: 30   Date Filed: 04/25/2022   Page: 10 of 36



                   STATEMENT OF THE ISSUE

  I.   Whether the district court erred in denying Mr. McCall’s motion

       to suppress where the court found the search warrant at issue to

       be violative of the Fourth Amendment, but refused to apply the

       exclusionary rule on account of good faith.




                                   2
USCA11 Case: 21-13092     Document: 30   Date Filed: 04/25/2022   Page: 11 of 36



                      STATEMENT OF THE CASE
  I.      Course of Proceedings, Facts, and Disposition Below

          A. Course of Proceedings and Disposition Below

       In June 2020, Kevin McCall was charged—via criminal complaint—

as a felon in possession of firearms, in violation of 18 U.S.C. § 922(g)(1).

(DE 1.)

       On September 8, 2020, Mr. McCall filed a motion to suppress the

evidence seized from his iCloud account—photographs that formed the

basis of the charges against him. (DE 18.) After holding an evidentiary

hearing, and listening to the testimony of Detective Keith Rosen of the

Broward Sheriff’s Office (“BSO”), James KempVanEe of the Digital

Forensics Unit at BSO, and expert witness Carter Conrad—as well as

additional argument, both oral and written, from both sides—the court

granted in part and denied in part Mr. McCall’s motion to suppress. (DE

93; DE 94.)       While the district court found the warrant to be

constitutionally deficient (DE 94:6–7), it concluded that the “good faith

exception would redeem the warrant” and “salvage[d] the search here.”

(DE 94:8, 10.)

       In the interim, a federal grand jury sitting in the Southern District

of Florida returned a two-count indictment against Mr. McCall, charging
                                     3
USCA11 Case: 21-13092     Document: 30    Date Filed: 04/25/2022   Page: 12 of 36



him with being a felon in possession of firearms and ammunition, in

violation of 18 U.S.C. § 922(g)(1).       (DE 34.)    Mr. McCall entered a

conditional plea of guilty to both counts of the indictment. (DE 72.) The

plea agreement made clear that:

             The United States consents to [Mr. McCall’s] entry
             of a conditional plea of guilty to the two-count
             Indictment, which charges [Mr. McCall] with two
             counts of Possession of a Firearm by a Convicted
             Felon, in violation of Title 18 United States Code,
             Section 922(g)(1), and [Mr. McCall’s] reservation of
             the right to seek appellate court review of the
             district court’s denial of the motion to suppress
             physical evidence on the grounds that the good-
             faith exception to the exclusionary rule cured any
             violation of [Mr. McCall’s] Fourth Amendment
             right to be free from unreasonable searches and
             seizures.

(DE 72:1.)

     At the video sentencing hearing on August 24, 2021, the district

court sentenced Mr. McCall to a term of imprisonment of 27 months,

followed by 3 years of supervised release. (DE 97:12.) Mr. McCall timely

filed a notice of appeal (DE 82), and is currently serving his term of

supervised release.




                                      4
USCA11 Case: 21-13092   Document: 30    Date Filed: 04/25/2022   Page: 13 of 36



        B. Facts

     In the early morning hours of April 11, 2020—around midnight—

Kevin McCall was with friends—Johnny Zanders, Terry Herbert,

Edward Russell, and Ferris Phillips—playing a game of Texas hold’em

poker. (DE 20-3:10.) The friends had gathered after attending Ferris

Phillips’s father’s funeral earlier that day. (DE 93:44–45.) As the poker

game progressed, Mr. McCall began to lose a large amount of money,

which lead to animosity and friction among the players. (DE 20-3:10.)

Mr. McCall borrowed $1000 from another player in order to continue

playing, but was increasingly frustrated and upset at how the game was

progressing “and made threats to do something about it.” (DE 20-3:10.)

     The other players reported seeing Mr. McCall using his cell phone

as the night progressed and Mr. McCall’s frustrations increased: Johnny

Zanders reported that Mr. McCall was “frantically using his cell phone to

make calls/text unknown persons”; Edward Russell noted, “McCall was

receiving multiple calls on his cell phone”; and Ferris Phillips observed

Mr. McCall “receive[ ] a phone call and step[ ] outside.” (DE 20-3:10–11.)

A short while later, Mr. McCall stood up, stated he needed to take care of

something, and left the house. (DE 20-3:10.)


                                    5
USCA11 Case: 21-13092     Document: 30   Date Filed: 04/25/2022   Page: 14 of 36



         A few minutes later, there was a knock at the door, but nobody

could be seen outside. (DE 20-3:10–11.) Terry Herbert tapped on the

window from inside the house and said, “show yourself,” prompting Mr.

McCall to step in front of the window to show that it was him at the door.

(DE 20-3:10.) As soon as Terry Herbert opened the door, however, two

black males wearing masks—one carrying a rifle and the other carrying

a semi-automatic handgun—stormed the house and ordered everyone to

the ground. The masked men fired two rounds, striking Terry Herbert

on his left foot and right shin. (DE 20-3:9–10.) They also shot at Edward

Russell, causing a minor graze wound to his right lower leg. (DE 20-

3:10.)     Johnny Zanders and Ferris Phillips retreated into the bedroom,

and in so doing, Ferris Phillips fired his .380 Kel Tec handgun in the

direction of the masked men. (DE 20-3:10.) The masked men got away

with cash and multiple Apple iPhones. No one believed that Mr. McCall

was either of the two masked men, including Detective Rosen. (DE 93:21

(“[W]e do not believe that Mr. McCall was the shooter . . . .”); DE 93:23

(“[W]e did not believe Mr. McCall to be one of the shooters or in possession

of a firearm.”).)




                                     6
USCA11 Case: 21-13092   Document: 30   Date Filed: 04/25/2022   Page: 15 of 36



     When law enforcement arrived at the home, they processed the

scene and sent multiple shell casings and spent projectiles to BSO for

testing. (DE 20-3:11.) Then, on April 14, 2020, law enforcement arrested

Mr. McCall for two counts of attempted felony murder and four counts of

robbery with a firearm. (DE 73:1.) BSO Detective Rosen noted in the

arrest affidavit supporting his application for an arrest warrant that he

had “probable cause to believe Kevin Antwon McCall was angry about

losing money during the poker game and called two people to respond to

the listed location to commit a home invasion robbery with a firearm.”

(DE 20-1:4.)

     After Mr. McCall was arrested, Detective Rosen applied for and

received a separate search warrant for Mr. McCall’s red Apple iPhone,

which was then already in the custody of BSO. (DE 20-2.) Detective

Rosen testified that he did so “to see who [Mr. McCall] was in

communication with prior to[,] during[,] and after the events.”           (DE

93:17.) He acknowledged that he did not believe that Mr. McCall had

pre-planned the robbery prior to when it occurred—the early morning

hours of April 11, 2020. (Id. at 21.) The warrant, however, sought the




                                   7
USCA11 Case: 21-13092   Document: 30    Date Filed: 04/25/2022   Page: 16 of 36



entire contents of the iPhone, unbounded by any restrictions as to type of

data or date. (DE 20-2:2.)

     The warrant to search Mr. McCall’s red Apple iPhone was signed

on April 15, 2020, but when officers attempted to execute it, they were

mostly unsuccessful because the phone was locked with a six-digit

passcode. (DE 20-2:3; DE 93:22; DE 20-3:12.) As a result, BSO could

obtain only a “limited extraction,” comprised of, among other

information, the phone number, the iCloud account associated with the

phone—happyday1985kevin@icloud.com—and the date and time of the

last iCloud backup—April 10, 2020 at 10:30:33AM UTC, which is

approximately 6:30AM EST. (DE 93:22; DE 20-3:12–13.)

     With that limited information in hand, Detective Rosen then

applied for and received a search warrant for the entire contents of Mr.

McCall’s iCloud account. (DE 20-3; DE 93:59–60.) That warrant sought

the entirety of Mr. McCall’s iCloud account—from account creation to

present—and authorized law enforcement to rummage through all data,

including “iCloud backups on the Cloud to include but not limited to Apps

that have been purchased and method of payment”; “Photo Stream

records”; and “Backups to include but not limited to full, unencrypted,


                                    8
USCA11 Case: 21-13092   Document: 30    Date Filed: 04/25/2022   Page: 17 of 36



non-password restricted backups of any and all Apple devices stored on

the Cloud.” (DE 20-3:3–4 (emphasis added).) Detective Rosen did so even

though he acknowledged that the text messages and calls Mr. McCall had

been seen making during the poker game could not have been a part of

the data sought from the iCloud because the iCloud account “was [last]

backed up prior to those messages being sent. They would have been in

the cell phone but not the iCloud account.” (DE 93:37.)

     A month or so later, BSO received the requested iCloud data from

Apple. (DE 93:33.) Detective Rosen sent the data to Mr. KempVanEe for

review, along with the search warrant and the attachments. (DE 93:33.)

Though Mr. KempVanEe did not come across anything relevant to the

investigation surrounding the home invasion robbery, he did “stumble[ ]”

across “pictures and videos of Mr. McCall waiving [sic] around a firearm.”

(DE 93:33, 42.) More specifically, an image from February 27, 2020 of

Mr. McCall physically possessing a Sig Sauer Model P365, 9 millimeter

semi-automatic pistol, and another image from March 3, 2020 of Mr.

McCall physically possessing a Ruger Model SRC9, 9 millimeter semi-

automatic pistol. (DE 73:2.) Mr. KempVanEe noted that “he was not

sure whether Mr. McCall was a convicted felon . . . [and] thought that


                                    9
USCA11 Case: 21-13092     Document: 30    Date Filed: 04/25/2022   Page: 18 of 36



might be something [Detective Rosen] may want to look into in addition

to [his] primary investigation.”         (DE 93:33–34.)      Mr. KemoVanEe

explicitly acknowledged, however, that the photos and videos had

nothing to do with the stated purpose of the search—the discovery of

“communications with co-conspirators before and after the home invasion

robbery.” (DE 93:68.)

        As a result, Detective Rosen began investigating an entirely

separate crime. (DE 93:43.) He reached out to his partner, who then

reached out to a federal agent at the Bureau of Alcohol, Tobacco,

Firearms and Explosives (“ATF”). (DE 93:43.) ATF took over, and Mr.

McCall was eventually charged with being a felon in possession of

firearms, based solely upon the images recovered from the search of his

iCloud account.


  II.     Standard of Review

        With regard to a motion to suppress, this Court reviews the district

court’s factual findings for clear error, and its legal conclusions de novo.

United States v. Nunez, 455 F.3d 1223, 1225 (11th Cir. 2006). More

specifically, this Court “review[s] de novo the legal issue as to whether

the Leon good faith exception to the exclusionary rule applies to this

                                     10
USCA11 Case: 21-13092    Document: 30    Date Filed: 04/25/2022   Page: 19 of 36



search, whereas the underlying facts upon which that determination is

based are binding on appeal unless clearly erroneous.” United States v.

Martin, 297 F.3d 1308, 1312 (11th Cir. 2002) (internal quotation marks

and citation omitted).




                                    11
USCA11 Case: 21-13092    Document: 30     Date Filed: 04/25/2022   Page: 20 of 36



                  SUMMARY OF THE ARGUMENT

     Kevin McCall was suspected of coordinating an armed home

invasion robbery in the very early morning hours of April 11, 2020. He

was playing poker with friends at a friend’s house, and became

increasingly frustrated that he was losing large sums of money. He was

seen on his cellphone—making and receiving calls and sending and

receiving text messages—as the poker game progressed. He eventually

stepped outside of the house to take care of something. Then, within

minutes, there was a knock on the door. When the occupants of the home

opened the door, two armed, masked men stormed the residence and

robbed it, firing their guns in the process.

     Mr. McCall was arrested on suspicion that he had orchestrated the

home invasion robbery that night because he was mad about losing

money at the poker game. Law enforcement officers secured a search

warrant for Mr. McCall’s red Apple iPhone as well as his iCloud account,

unbounded by any limitations as to time or subject matter. They were

afforded carte blanche to engage in an exploratory rummaging of the

contents of Mr. McCall’s entire life based upon the limited probable cause

they had to believe that Mr. McCall had orchestrated a spur-of-the-


                                     12
USCA11 Case: 21-13092   Document: 30    Date Filed: 04/25/2022   Page: 21 of 36



moment home invasion robbery because he was frustrated and angry

about losing money during a poker game. While the district court found

the iCloud search warrant to be constitutionally infirm, it upheld the

search warrant after applying the good-faith exception to the

exclusionary rule. Doing so, however, was erroneous.

     The fact that the officers accomplished their search by means of a

warrant does not end the Fourth Amendment analysis.                        The

constitutional requirements of particularity and probable cause were

designed to prohibit invasive searches of private papers and effects based

on an officer’s hunch, even when the officers possessed a warrant.

Moreover, the good-faith exception to the exclusionary rule has never

existed without limiting principles. Two apply here—an affidavit so

lacking in indicia of probable cause as to render official belief in its

existence entirely unreasonable, and a warrant so facially deficient that

the executing officers could not reasonably presume it to be valid—each

independently sufficient to render the good-faith exception inapplicable.

     The scope of a search must closely adhere to the probable cause

showing, lest authority to search a device for evidence of one crime

mutate into authority to search the entirety of the device for evidence of


                                   13
USCA11 Case: 21-13092   Document: 30    Date Filed: 04/25/2022   Page: 22 of 36



any crime—a prohibited general search. That is precisely what happened

here—officers rummaged through the entire contents of Mr. McCall’s

iCloud account and discovered evidence completely unrelated to the

crime being investigated.      This unwarranted and unprecedented

expansion of the government’s power to pry into a suspect’s private life

cannot be countenanced.




                                   14
USCA11 Case: 21-13092    Document: 30     Date Filed: 04/25/2022     Page: 23 of 36



         ARGUMENT AND CITATIONS TO AUTHORITY


  I.     THE DISTRICT COURT ERRONEOUSLY APPLIED                      THE   GOOD-
         FAITH EXCEPTION TO THE EXCLUSIONARY RULE                    TO   SALVAGE
         THE SEARCHES CONDUCTED HERE

       The exclusionary rule prohibits the introduction of evidence

obtained in violation of the Fourth Amendment in order to “compel

respect” for the important rights guaranteed by the Fourth Amendment.

Davis v. United States, 564 U.S. 229, 236 (2011).                  The good-faith

exception to the exclusionary rule is a “judicially created exception to this

judicially created rule.” Id. at 248. In United States v. Leon, the Supreme

Court recognized a good-faith exception to the exclusionary rule, under

which evidence obtained by an officer who acts in objectively reasonable

reliance on a search warrant will not be suppressed, even if the warrant

is later deemed invalid. 468 U.S. 897, 922 (1984).

       Importantly, however, the Supreme Court in Leon enumerated four

situations that would remove a warrant from the good-faith exception’s

protection, two of which are relevant here: (1) “where the affidavit

supporting the warrant is so lacking in indicia of probable cause as to

render official belief in its existence entirely unreasonable”; and (2)

“where, depending upon the circumstances of the particular case, a


                                     15
USCA11 Case: 21-13092     Document: 30    Date Filed: 04/25/2022   Page: 24 of 36



warrant is so facially deficient—i.e., in failing to particularize the place

to be searched or the things to be seized—that the executing officers

cannot reasonably presume it to be valid.” Martin, 297 F.3d at 1313

(internal quotation marks omitted).

     Here, both situations existed.       The warrant and its supporting

affidavit were so deficient that no reasonable officer could have presumed

them to be valid. As such, the good-faith exception to the exclusionary

rule should not have applied. And, in any case, any reliance by law

enforcement officers on the search warrant at issue was objectively

unreasonable.    The evidence recovered as a result should have been

suppressed.


   A. The good-faith exception to the exclusionary rule does not
      apply because the affidavit underlying the Apple iCloud
      search warrant was so lacking in indicia of probable cause
      as to render official belief in its existence entirely
      unreasonable

     To determine whether the affidavit underlying a search warrant

was so lacking in probable cause as to render official belief in its existence

entirely unreasonable, the Court must “look to the face of the particular

affidavit at hand.” Martin, 297 F.3d at 1313. “It is critical to a showing

of probable cause that the affidavit state facts sufficient to justify a

                                     16
USCA11 Case: 21-13092   Document: 30    Date Filed: 04/25/2022   Page: 25 of 36



conclusion that evidence or contraband will probably be found at the

premises to be searched.” Id. at 1314 (quotation marks omitted). The

affidavit “must contain sufficient information to conclude that a fair

probability existed that seizable evidence would be found in the place

sought to be searched.” Id. (quotation marks omitted). More specifically,

“the affidavit should establish a connection between the defendant and

the [location] to be searched and a link between the [location] and any

criminal activity.” Id. There must be a specific factual basis in the

affidavit that connects the information requested to the crimes charged.

     Here, Detective Rosen’s affidavit in support of the iCloud search

warrant sought approval to search virtually every piece of data in Mr.

McCall’s iCloud account—all subscriber information, app purchases,

photo stream records, bookmarks, backups from any and all Apple

devices stored on the Cloud, all emails, and all contact and buddy lists.

(DE 20-3:8–9.) The affidavit, however, contained no indicia of probable

cause that any evidence of the home invasion robbery being investigated

would be found in the iCloud account, let alone in any of the multiple

categories of data sought, including photos and videos taken months

before.


                                   17
USCA11 Case: 21-13092    Document: 30    Date Filed: 04/25/2022   Page: 26 of 36



     Per the facts alleged in the affidavit, Mr. McCall was playing an

impromptu game of poker with his friends, with whom he had gathered

after the funeral of one of his friend’s fathers. He had lost a large sum of

money, and was described as being “frustrated,” “upset,” and

“confrontational.” (DE 20-3:10.) He was seen by multiple of his friends

“frantically” making and receiving phone calls, as well as sending and

receiving text messages. (Id.) He then abruptly “stood up, stated he

needed to take care of something, and left the residence.” (Id.) A few

minutes later, there was a knock at the door of the house Mr. McCall had

just left, and when his friends opened the door, two masked men with

firearms—neither one of whom was Mr. McCall—“stormed” the home,

ordered everyone to the ground, and got away with phones and cash.

     There were no facts in the probable cause affidavit to indicate that

Mr. McCall planned this home invasion robbery prior to the night it

occurred. Detective Rosen admitted as much when directly asked if there

was any evidence that Mr. McCall planned the home invasion robbery in

advance. (DE 93:20–21; DE 94:3.) And Mr. McCall’s cellphone—which

he was using in the early morning hours of April 11, 2020 to make and

receive phone calls and send and receive text messages—last backed up


                                    18
USCA11 Case: 21-13092    Document: 30    Date Filed: 04/25/2022   Page: 27 of 36



to his iCloud account on April 10, 2020 at 6:30AM, many hours before the

crime being investigated. (DE 20-3:13.) Detective Rosen was aware of

this fact when he swore out his affidavit in support of the iCloud account

search warrant. (DE 20-3:13.) As such, the affidavit failed to establish

any link between Mr. McCall’s iCloud account and the criminal activity

being investigated—the spur-of-the-moment home invasion robbery. The

affidavit contained zero facts to justify the search of an account that did

not contain any of the calls and texts the witnesses interviewed in the

affidavit alleged Mr. McCall had made minutes before the home invasion

robbery occurred.

     It was entirely unreasonable for Detective Rosen to believe that

what he wrote in the affidavit was sufficient to support a finding of

probable cause to search the entirety of Mr. McCall’s iCloud account, let

alone just the photos and videos.         This is especially so given his

knowledge of the fact that Mr. McCall’s iPhone last backed up to his

iCloud account the day before the home invasion robbery occurred. See

Bigford v. Taylor, 834 F.2d 1213, 1218 (5th Cir. 1988) (explaining that

while officers are permitted to rely on training and experience when




                                    19
USCA11 Case: 21-13092    Document: 30    Date Filed: 04/25/2022   Page: 28 of 36



attesting that probable cause exists, they must not turn a blind eye to

details that do not support probable cause for the particular crime).

     The affidavit here did not contain any indicia of probable cause to

enable a reasonable officer to execute the warrant thinking it was valid,

and therefore, the warrant cannot be saved by the good-faith exception.

See United States v. Griffith, 867 F.3d 1265, 1278 (D.C. Cir. 2017)

(finding that the affidavit’s failings as to probable cause brought the

warrant beyond the good-faith exception’s reach).


  B. The good-faith exception to the exclusionary rule also does
     not apply because the iCloud search warrant was so facially
     deficient that the executing officers could not have
     reasonably presumed it to be valid

     A search warrant must “particularly describ[e] the place to be

searched, and the persons or things to be seized.” U.S. Const. amend IV.

The goal is to prevent “rummaging” through a person’s belongings by

requiring warrants to include a particular description of the things to be

seized. United States v. Blake, 868 F.3d 960, 973 (11th Cir. 2017). A

particular warrant “assures the individual whose property is searched or

seized of the lawful authority of the executing officer, his need to search,

and the limits of his power to search.” United States v. Chadwick, 433


                                    20
USCA11 Case: 21-13092    Document: 30        Date Filed: 04/25/2022     Page: 29 of 36



U.S. 1, 9 (1977), abrogated on other grounds, California v. Acevedo, 500

U.S. 565 (1991).

      In Blake, the Court explored the contours of the particularity

requirement when assessing a tailored warrant requiring Microsoft to

turn over all emails containing potentially incriminating evidence versus

warrants requiring Facebook to disclose “virtually every kind of data that

could be found in a social media account.” Blake, 868 F.3d at 973–74.

While the Court found the Microsoft warrant to be constitutional—it “did

not seek all emails in those two email accounts; instead, it was limited to

certain categories of emails in them that were linked to the . . . charges,”

id.   at   966—it   concluded        that    the   Facebook      warrants        were

unconstitutional because they could have been more “limited” in the data

they sought from Facebook, both in subject matter and date. Id. at 974.

The    Court’s   comparison     of     the    warrants—one            which   passed

constitutional muster and one which did not—is instructive to the good-

faith analysis in this case.

      Here, much like the Facebook warrant at issue in Blake, the iCloud

warrant requested every piece of data that could be found in an iCloud

account, unbounded by subject matter or date.                That is, the entire


                                        21
USCA11 Case: 21-13092    Document: 30    Date Filed: 04/25/2022   Page: 30 of 36



contents of Mr. McCall’s iCloud account, including “[b]ackups . . . of any

and all Apple devices stored on the Cloud.” (DE 20-3:4.) Arguably, the

iCloud warrant here was even more egregious than the one found

violative of the Constitution in Blake because it sought every piece of data

backed up to the Cloud by any cloud-connected Apple device owned by

Mr. McCall—including, but not limited to, Mr. McCall’s red Apple iPhone

that was the subject of the investigation. In essence, the Apple iCloud

search warrant gave law enforcement access to all data from every cloud-

connected device in Mr. McCall’s possession, whether or not those devices

had any connection to the spontaneous home invasion robbery being

investigated.

     It cannot be said that the good-faith exception salvages this facially

deficient, grossly unparticularized warrant. The warrant sought all data

stored in the iCloud—subscriber information, mail logs, emails, photos,

videos, contacts, calendars, bookmarks, iOS device backups, Find My

iPhone data, all text messages, Instant messages, voicemails, documents,

location data, all iCloud backups from any devices stored on the Cloud,

FaceTime logs, and iTunes account information—unbounded by any date

restrictions. (DE 20-3.) Detective Rosen prepared this utterly facially


                                    22
USCA11 Case: 21-13092    Document: 30    Date Filed: 04/25/2022   Page: 31 of 36



deficient warrant, which sought every kind of data from a source that

could never have contained the precise calls and texts law enforcement

was looking for because the last backup of data from the iPhone to the

iCloud occurred before the calls and texts in question were made/sent.

Additionally, the warrant sought categories of information outside of

calls and texts that had no connection to the crimes being investigated.

     The iCloud search warrant, which essentially provided for the

indiscriminate rummaging through the entire contents of Mr. McCall’s

iCloud account, was “so facially deficient . . . that the executing officers

[could not] reasonably presume it to be valid.” Leon, 468 U.S. at 923.

Therefore, the Leon good-faith exception to the exclusionary rule is

inapplicable, and the photographs and videos that formed the basis for

Mr. McCall’s prosecution as a felon-in-possession should have been

suppressed.


  C. In any case, even if the above exceptions to the Leon good-
     faith exception to the exclusionary rule do not apply, law
     enforcement officers’ reliance upon the search warrant was
     objectively unreasonable

     “It is incumbent on the officer executing a search warrant to ensure

the search is lawfully authorized and lawfully conducted.”             Groh v.

Ramirez, 540 U.S. 551, 563 (2004).        The good-faith exception to the
                                    23
USCA11 Case: 21-13092    Document: 30    Date Filed: 04/25/2022   Page: 32 of 36



exclusionary rule requires courts to consider whether a reasonably well-

trained officer would know that the warrant was illegal despite the

magistrate’s authorization. Leon, 468 U.S. at 922 n.23. The critical

question is whether the officers’ good faith reliance on the defective

warrant was objectively reasonable. Here, the answer is unequivocally

no.

      In finding that the good-faith exception saved the warrant, the

district court found persuasive that the warrants were “signed by two

different Judges.” (DE 94:8.) But, as the Supreme Court noted in Groh,

“because petitioner himself prepared the invalid warrant, he may not

argue that he reasonably relied on the [Judge’s] assurance that the

warrant contained an adequate description of the things to be seized and

was therefore valid.” 540 U.S. at 564.

      The Supreme Court has observed: “[M]any situations which

confront officers in the course of executing their duties are more or less

ambiguous, [and] room must be allowed for some mistakes on their part.

But the mistakes must be those of reasonable men, acting on facts

leading sensibly to their conclusions of probability.” Brinegar v. United

States, 338 U.S. 160, 176 (1949). And further, “[m]ere affirmance of belief


                                    24
USCA11 Case: 21-13092    Document: 30    Date Filed: 04/25/2022   Page: 33 of 36



or suspicion is not enough.” Nathanson v. United States, 290 U.S. 41, 47

(1933). The facts here lead to the conclusion that Mr. McCall potentially

participated in a spur-of-the-moment, unplanned home invasion robbery;

the facts do not lead to a sensible conclusion that Mr. McCall orchestrated

and pre-planned a grand scheme to rob his friends’ home days and

months prior. Under these facts, reasonably well-trained officers would

have been aware that searching the entirety of Mr. McCall’s iCloud

account—which did not contain any of the phone calls or text messages

sent and received by Mr. McCall in the minutes leading up to the home

invasion robbery—was unsupported by probable cause, despite the

judge’s approval. Consequently, it was error to afford the search the

protection of the good-faith exception to the exclusionary rule.

                                   ****

     Justice Frankfurter once observed that, though “criminals have few

friends,” the encroachment on the Fourth Amendment “reach[es] far

beyond the thief or the blackmarketeer.” Harris v. United States, 331

U.S. 145, 156 (1947) (Frankfurter, J., dissenting). The encroachment in

this case could reach anyone with an electronic device that backs up to

the Cloud. If the Court fails to persist in its commitment to the Fourth


                                    25
USCA11 Case: 21-13092    Document: 30    Date Filed: 04/25/2022   Page: 34 of 36



Amendment’s particularity requirement here, it will throw the door wide

open to unrestricted searches of any and all personal electronic devices

and all of the data they have ever contained. Such unrestricted searches

are many times more invasive than the rifling of one’s home, and cannot

be sanctioned by this Court.

                             CONCLUSION

     For the foregoing reasons, Mr. McCall respectfully requests that

this Court reverse the district court’s denial of his motion to suppress and

vacate his conviction and sentence.



                                   Respectfully submitted,

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                                    26
USCA11 Case: 21-13092    Document: 30    Date Filed: 04/25/2022   Page: 35 of 36



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     I certify that this brief complies with the type-volume limitation of

Fed. R. App. P. 32(a)(7)(B), because it contains 4,570 words, excluding

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                                                /s/ Anshu Budhrani
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                                    27
USCA11 Case: 21-13092   Document: 30    Date Filed: 04/25/2022   Page: 36 of 36



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     I HEREBY certify that on this 25th day of April 2022, I

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                                   28
